             Case 18-13243 Doc 3 Filed 12/06/18 Entered 12/06/18 11:33:52 Main Document Page 1 of 3
 Fill in this information to identify your case:

  Debtor 1                    Duc                                      Tran
                              First Name           Middle Name         Last Name

  Debtor 2                    Lynn                                      Mai
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Eastern District of Louisiana

  Case number                                                                                                                           ❑     Check if this is an
  (if known)                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                           04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the         Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from          Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                          ❑                                        La. Const. Art. 12, § 9; La. Rev. Stat. §
                                                                                          ✔
  Debtors' principal residence; value decreasing                          $110,000.00
  3629 Ridgelake Dr. Unit 15 Metairie, LA 70002                                           ❑   100% of fair market value, up to     20:1
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          1.1

 Brief description:
                                                                                          ❑                                        La. R.S. § 13:3881(A)(7)
                                                                                          ✔
 2005 Dodge Ram                                                               $5,450.00
                                                                                          ❑   100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




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                                             Tran
 Debtor 2             Lynn                                      Mai                                               Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 Furniture, linens, appliances                                         $2,000.00
                                                                                   ❑                $2,000.00                 La. R.S. § 13:3881(A)(4)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         6


                                                                                   ✔
 Brief description:
 Basic clothing                                                         $200.00
                                                                                   ❑                 $200.00                  La. R.S. § 13:3881(A)(4)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        11


                                                                                   ✔
 Brief description:
 Wedding bands                                                          $100.00
                                                                                   ❑                 $100.00                  La. R.S. § 13:3881(A)(5)
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        12

 Brief description:
                                                                                   ❑                                          La. R.S. § 13:3881(A)(4)
                                                                                   ✔
 1 dog, 1 cat                                                             $0.00
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                                   ❑                                          La. R.S. § 13-3881(D)
                                                                                   ✔
 403(b) state employee retirement                                     $50,000.00
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        21
                                                                                   ❑                                          11 U.S.C. § 522(b)(3)(C)
                                                                                   ✔
                                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit

                                                                                   ✔
                                                                                   ❑                  $0.00                   La. R.S. § 11:952.3
                                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit

 Brief description:
                                                                                   ❑                                          La. R.S. § 13-3881(D)
                                                                                   ✔
 State employee pension                                                 unknown
                                                                                   ❑   100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:        21
                                                                                   ❑                                          11 U.S.C. § 522(b)(3)(C)
                                                                                   ✔
                                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit

                                                                                   ✔
                                                                                   ❑                unknown                   La. R.S. § 11:405
                                                                                   ❑   100% of fair market value, up to
                                                                                       any applicable statutory limit




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                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the     Amount of the exemption you claim           Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from      Check only one box for each exemption.
                                                        Schedule A/B
 Brief description:
                                                                                 ❑                                          La. R.S. § 13:3881(A)(6)
                                                                                 ✔
 Earned income credit, if any                                          unknown
 Federal tax                                                                     ❑   100% of fair market value, up to
                                                                                     any applicable statutory limit
 Line from
 Schedule A/B:        28



                                                                                                  $52300.00




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